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                              UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF OHIO
                              WESTERN DIVISION AT DAYTON

UNITED STATES OF AMERICA,

       Plaintiff,                                   Case No. 3:21-cr-100

vs.

ANTOINE LAMARE LONG, SR.,                           District Judge Michael J. Newman
                                                    Magistrate Judge Peter B. Silvain, Jr.
      Defendant.
______________________________________________________________________________

   ORDER ADOPTING IN FULL THE REPORT AND RECOMMENDATION OF THE
               UNITED STATES MAGISTRATE JUDGE (DOC. NO. 21)
______________________________________________________________________________

       This criminal case is before the Court on the Report and Recommendation of the Magistrate

Judge, recommending that the Court accept Defendant’s guilty plea. Doc. No. 21. There being no

objections, the Court ADOPTS the Report and Recommendation in full.                The Court accepts

Defendant’s plea of guilty as charged in count 1 of the Indictment, which charges him with knowingly

and intentionally possessing with the intent to distribute a mixture or substance containing a

detectable amount of methamphetamine, a Schedule II controlled substance, in violation of Title 21

U.S.C. §§ 841(a)(1) and 841(b)(1)(C). Doc. No. 10. The Court will defer the decision of whether

to accept the plea agreement until Defendant’s sentencing hearing on March 3, 2022 at 2:00 PM.

       IT IS SO ORDERED.

December 3, 2021                                    s/Michael J. Newman
                                                    Hon. Michael J. Newman
                                                    United States District Judge
